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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

Case No. 2:23-cv-02831-SVW-E Date December 14, 2023

Title
Demetrious Polychron v. Jeff Bezos et al.

Present: The Honorable STEPHEN V. WILSON, U.S. DISTRICT JUDGE

Paul M. Cruz N/A
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
N/A N/A
Proceedings: ORDER GRANTING IN PART DEFENDANTS’ MOTION FOR

ATTORNEY FEES [52]

Before the Court is Defendants Amazon Studios LLC and Amazon Content Services LLC (the
“Amazon Defendants”) and the Tolkien Estate Limited, the Tolkien Trust, and Simon Tolkien (the
“Tolkien Defendants”) motion for attorneys’ fees. ECF No. 52. For the reasons below, the motion is
GRANTED IN PART.

L. Factual and Procedural Background

Plaintiff Demetrious Polychron (‘Plaintiff’) brought various claims alleging copyright
infringement and unfair competition against the Amazon Defendants and the Tolkien Defendants
(collectively “Defendants”). First Am. Compl. (“FAC”) § 40-81, ECF No. 31. He alleged that Defendants
had unlawfully based their television show, The Lord of the Rings: The Rings of Power, on Plaintiff's
work, which was an unauthorized sequel to The Lord of the Rings entitled The Fellowship of the King
(envisioned to be the first book in a seven-book series entitled The War of the Rings). He filed his initial
complaint on April 14, 2023. ECF No. 1.

Defendants had already begun work on a motion to dismiss the initial complaint when Plaintiffs
counsel suggested she would be filing an amended complaint. Defs.’ Mot. for Att’ys’ Fees 4, ECF No.
52; Levine Decl. § 16, ECF No. 52-1. The parties stipulated to extend Defendants’ deadline to respond to

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the initial complaint because Plaintiff planned to file that amended complaint on the date that Defendants’
response to the initial complaint was due and Defendants were unsure if Plaintiff would meet that deadline.
Levine Decl. § 7; ECF No. 26. To prepare their motions, Defendants were required to review an eight-
episode television series and two versions of an over-300-page novel, and to conduct research about the
canon surrounding Zhe Lord of the Rings. Defs.’ Mot. for Att’ys’ Fees 16, ECF No. 52. Plaintiff filed his
FAC on July 13, 2023. ECF No. 31.

The Amazon Defendants and the Tolkien Defendants each filed a motion to dismiss on July 27,
2023. ECF No. 42, 35. The Court granted these motions on August 14, 2023. ECF No. 47. In that order,
Plaintiff s action was dismissed with prejudice, judgment was entered in favor of Defendants on all claims,
and Plaintiff took nothing. J. 2, ECF No. 50.

II. Legal Standards

A. Awarding Attorneys’ Fees Under the Copyright Act

“[A]n award of attorne[ys’] fees to a prevailing defendant that furthers the underlying purposes of
the Copyright Act is reposed in the sound discretion of the district courts . . . .” Fantasy, Inc. v. Fogerty,
94 F.3d 553, 555 (9th Cir. 1996) (Fogerty IJ). “[S]uch discretion is not cabined by a requirement of
culpability on the part of the losing party.” Jd. Courts deciding whether to award attorneys’ fees “can look
to five non-exclusive factors: (1) the degree of success obtained; (2) frivolousness; (3) motivation; (4) the
objective unreasonableness of the losing party’s factual and legal arguments; and (5) the need, in particular

circumstances, to advance considerations of compensation and deterrence.” Se/tzer v. Green Day, Inc.,
725 F.3d 1170, 1180-81 (9th Cir. 2013).

“[S]ubstantial weight” is given to the fourth factor, 1.e., the objective unreasonableness of the
losing party’s litigating position. Shame on You Prods. v. Banks, 893 F.3d 661, 666 (9th Cir. 2018). “[A]
legal argument that loses is not necessarily unreasonable.” Shame on You Prods., 893 F.3d at 666 (citing
VMG Salsoul, LLC v. Ciccone, 824 F.3d 871, 887 (9th Cir. 2016) and Se/tzer, 723 F.3d at 1181). District
Courts can analyze the reasonableness of a party’s litigating position with respect to substantial similarity.

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Id. at 667 (a party’s subjective belief in the reasonableness of its litigating position on the extrinsic test of
substantial similarity is not relevant to the reasonableness determination of that position).

Another important factor in determining whether to award fees under the Copyright Act is
“whether an award will further the purposes of the Act.” Mattel, Inc. v. MGA Ent., Inc., 705 F.3d 1108,
1111 (9th Cir. 2013).! “The Act’s ‘ultimate aim is . . . to stimulate artistic creativity for the general public
good.” Jd. (quoting Twentieth Century Music Corp. v. Aiken, 422 U.S. 151, 156 (1975)). “That aim is
furthered when defendants ‘advance a variety of meritorious copyright defenses.’” Jd. (quoting Fogerty v.
Fantasy, 510 U.S. 517, 527 (1994) (Fogerty I/)). Put more strongly, “[t]he successful defense of a
copyright action always furthers the purposes of the Copyright Act to some degree by ensuring that
meritless copyright claims — which may stifle creativity — are disposed of.” Gold Glove Prods. v.
Handfield, No. CV 13-7247 DSF (RZx), 2014 U.S. Dist. LEXIS 199453, *11 (C.D. Cal. June 4, 2014).
Even so, “a prevailing defendant cannot always be entitled to fees.” Jd. The five factors mentioned above
must be analyzed to decide if a prevailing defendant is entitled to an award of attorneys’ fees. Jd. at *12.

B. Calculating Attorneys’ Fees

A court “in its discretion, may allow the prevailing party . . . a reasonable attorney’s fee, including
litigation expenses, and costs.” 42 U.S.C. § 12205. However, as the moving party, Plaintiff “bears the
burden of documenting the appropriate hours expended in the litigation and must submit evidence in
support of those hours worked.” Gates v. Deukmejian, 987 F.2d 1392, 1397 (9th Cir. 1992). “In
evaluating the requested rate, judges are justified in relying on their own knowledge of customary rates
and their experience concerning reasonable and proper fees.” Vargas v. Howell, 949 F.3d 1188, 1199 (9th
Cir. 2020) (internal quotation marks omitted).

1 “Tn cases pre-dating the Supreme Court’s holding in Kirtsaeng [v. John Wiley & Sons, Inc., 136 S. Ct. 1979 (2016)], the Ninth
Circuit had referred to the purposes of the Copyright Act as the ‘most important factor’ in determining whether to award fees:
the Ninth Circuit has since found that ‘[a]fter Kirtsaeng’s 2016 endorsement of a “totality of circumstances” approach and its
statement that the losing party’s reasonableness carries “significant weight,” it is unclear whether the purposes-of-the-
Copyright-Act factor remains the “most important” one. . . . Nevertheless, consideration of the purposes of the Copyright Act
‘remains important.’” Cing Music Grp., LLC v. Create Music Grp., Inc., No. 2:22-cv-07505-JLS-MAR, 2021 U.S. Dist. LEXIS
76599, * 9 (C.D. Cal. Apr. 26, 2023) (citation omitted) (quoting Glacier Films (USA), Inc. v. Turchin, 896 F.3d 1033, 1040—
41 (9th Cir. 2018)).

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Reasonable attorneys’ fees are calculated as “the number of hours reasonably expended on the
litigation multiplied by a reasonable hourly rate.” Gates, 987 F.2d at 1397. To receive attorneys’ fees, a
party must present “satisfactory evidence . . . that the requested rates are in line with those prevailing in
the community for similar services by lawyers of reasonably comparable skill, experience, and
reputation.” Blum v. Stenson, 465 U.S. 886, 895—6 n.11 (1984). The relevant community is that in which
the district court sits. Schwarz v. Sec’y of Health and Human Serv., 73 F.3d 895, 906 (9th Cir. 1995). For
this Court, the relevant community is courts within the Central District of California (“District”). A district
court is given wide latitude in reducing the fee applicant’s compensable hours based on the above criteria.
Hensley v. Eckerhart, 461 U.S. 424, 437 (1983). However, the court “must provide an explanation for the
reduction.” Sorenson v. Mink, 239 F.3d 1140, 1146-47 (9th Cir. 2001).

III. Discussion

A. Defendants are Entitled to Attorney’s Fees

Awarding attorneys’ fees to Defendants furthers the purpose of the Copyright Act and satisfies the
relevant five-factor test.

i. Awarding Attorneys’ Fees to Defendants Furthers the Copyright
Act’s Purpose

Attorneys’ fees may not be awarded as a matter of course to a prevailing party. Shame on You
Prods., 893 F.3d at 669 (citing Kirtsaeng v. John Wiley & Sons, Inc., 136 S. Ct. 1979, 1985 (2016)). The
Ninth Circuit has cautioned district courts to avoid “generic reasoning” that “could be broadly applied to
most copyright cases in which a defendant prevails” when determining whether an award for attorneys’
fees furthers the Act’s purposes. Jd.

Here, Plaintiff initiated a lawsuit claiming that Defendants had infringed his copyright in an
unauthorized derivative work based on Defendants’ validly protected work. Such a claim turns the basic
ideas of copyright protection on their head. The goal of the Copyright Act is the enrichment of society

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through artistic production. Mattel, 705 F.3d at 1111. Artists would be disincentivized from creating fully
realized characters and richly drawn worlds if they knew that others could use those characters and settings
in their own unauthorized works and then sue the original creators for validly exercising their legal rights
to create authorized derivative works. Forcing artists to internalize the costs of defending their original
creations from infringers who weaponize the Copyright Act against those artists risks disincentivizing
artistic creation; such an outcome would be in direct opposition to the purpose of the Act.

Plaintiff argues that an award of attorneys’ fees would not service the purposes of the Copyright
Act because “Plaintiff is an artist and has created an original work, regardless of whether the Court
dismissed the case and found it to be an unauthorized derivative.” Pl.’s Opp. to Defs.’s Mot. for Att’ys’
Fees 4, ECF No. 55. While Plaintiff did create an artistic work, much of that work was not original enough
to be entitled to copyright protection. The artistic merit of an infringing derivative work is not a
consideration in copyright analysis; the goal of the Copyright Act is to maximize society’s artistic output
by incentivizing artistic creation through exclusive rights. Enforcing the Copyright Act might mean that
Plaintiff's work does not join society’s literary bounty, but it also ensures that other artists will choose to
create, confident that the legal system will enforce the exclusive rights they have in their creations. This
same argument defeats Plaintiff's claim that awarding attorneys’ fees will have a chilling effect on artistic
creation. Jd. at 5. Only unauthorized derivative works should be chilled by this award. Any legitimate
creation that may be potentially chilled is certainly outweighed by the amount of creation that will be
spurred by enforcing the Copyright Act’s regime of exclusive rights.

ii. The Seltzer Factors Tilt in Favor of Defendants

Each of the five Se/tzer factors favor the Defendants.

a. Defendants Won a Complete Victory

Plaintiff's action was “DISMISSED WITH PREJUDICE on the merits and in its entirety” by the
Court. J. 2, ECF No. 50. Judgment was “entered in favor of the Amazon Defendants and the Tolkien
Defendants on all claims in this action.” /d. Plaintiff took “nothing.” Jd. Defendants’ complete victory
means that factor one in the Se/tzer analysis completely favors Defendants.

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b. Plaintiff's Complaint Was Frivolous

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[A] claim is not frivolous under the Copyright Act merely because it is unsuccessful. Rather, a
frivolous claim under the Copyright Act is one that, in either the factual or legal assertions, is clearly
baseless, involving fantastic or delusional scenarios.’” Be// v. Wilmott Storage Servs., LLC, No. CV 18-
7328-CBM-MRWx, 2019 U.S. Dist. LEXIS 161257, *3 (C.D. Cal. Sept. 12, 2019) (quoting Perfect 10,
Inc. v. Giganews, Inc., No. CV 11-07098-AB (SHx), 2015 U.S. Dist. LEXIS 54063, *21 (C.D. Cal. Mar.
24, 2015)).

The Court is mindful that frivolity and objective unreasonableness are two distinct factors under
the Se/tzer test. The Court also notes that numerous cases combine their analysis of the two factors. E.g.,
id. Here, the Court will simply note the fantasticality of Plaintiff's claim: that Defendants had infringed
Plaintiff's copyright in an unauthorized derivative work based on Defendants’ validly protected work.
Such an argument was frivolous from the beginning. Accordingly, this factor weighs in favor of awarding
attorneys’ fees to Defendants.

c. The Motivation Factor Somewhat Favors Defendants

Despite repeated communications by Defense counsel informing him that his case was without
merit, Plaintiff continued pursuing his claim. Defense counsel attempted to inform Plaintiff several times
of the untenability of his legal position. They sent him a letter citing to relevant caselaw on April 27, 2023.
Levine Decl. § 2, ECF No. 52-1. They engaged in a pre-filing conference on June 23, 2023, where they
reiterated their points. Jd. § 5. They did the same at a conference on July 18, 2023. Jd. § 8. None of these
efforts persuaded Plaintiff to dismiss his suit. Given the overwhelming improbability of success (discussed
in greater detail below), the motivation factor tilts against Plaintiff.

Defendants also allege that the timing of Plaintiff's lawsuit suggests improper motivation.
Defendants allege that between March 30, 2023, and April 14, 2023, Plaintiff repeatedly postponed a call
between himself and counsel for the Tolkien Defendants related to a cease-and-desist letter that they had
sent him regarding his work. Koonce Decl. § 9, 6, ECF No. 52-6. They claim that Plaintiff filed his initial
complaint on the same day that this call had been rescheduled to take place. Jd. § 9. The Court declines to
read an improper motivation into this timing.

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Additionally, Defendants allege in a conclusory fashion that Plaintive “aggressively” pursued his
case. Defs.’ Mot. for Att’ys’ Fees 9, ECF No. 52. However, they provide no information to support this
claim and the Court therefore declines to find that Plaintiff engaged in the aggressive pursuit of this case.

Lastly, the Court declines to read an improper motivation into Plaintiff counsel’s choice to issue a
press release related to this case. Defs.’ Mot. for Att’ys’ Fees 3-4, ECF No. 52.

d. Plaintiff's Factual and Legal Arguments Were Objectively
Unreasonable

The objective unreasonableness of a party’s litigation position is awarded substantial weight in the
analysis of whether to award attorneys’ fees. Here, the Court will note, as Defendants point out, that it
dismissed Plaintiff's FAC in its entirety and on the merits before Defendants had filed their reply briefs
and before oral arguments on the motions. Defs.’ Mot. for Att’ys’ Fees 7, ECF No. 52. As the Court noted
in its order dismissing Plaintiff's complaint, “Plaintiff has admitted that the characters were taken directly
from The Lord of the Rings in his correspondence with Simon Tolkien and the Tolkien Estate. He has also
admitted that his series is intended to be a sequel to The Lord of the Rings, so every plot point flows from
the ending of the Lord of the Rings series—thereby continuing the story of what would happen to the
rings, the original characters, and their children.” ECF No. 47. It was objectively unreasonable for Plaintiff
to bring a copyright infringement suit alleging that his rights had been violated; he had no protected rights
to begin with.” It was even more unreasonable to bring that suit against these Defendants, who held the
valid copyright in the work that Plaintiff used, without permission, to make his own.

e. Awarding Attorney’s Fees Will Advance Considerations of
Compensation and Deterrence

Granting an award of attorneys’ fees to Defendants will advance the goals of both general and
specific deterrence. The Ninth Circuit has held that district courts can validly consider the need for

? As noted previously, there is some uncertainty in the caselaw about the protectability of original elements in derivative
works. ECF No. 47. However, that uncertainty is not relevant to the facts of this case.

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deterrence of frivolous claims in general when awarding attorneys’ fees. Shame on You Prods., 893 F.3d
at 668 (citing Inhale, Inc. v. Starbuzz Tobacco, Inc., 755 F.3d 1038, 1043-43 (9th Cir. 2014). Here, the
Court finds that granting attorneys’ fees in this case will deter similarly frivolous cases in the future.

More significantly, Plaintiff has admitted that his book was intended to be the first in a seven-book
series. An award of attorneys’ fees will hopefully discourage him from repeated lawsuits against
Defendants based on any of these planned sequels.

B. Defendants’ Attorneys’ Fees Must Be Reduced

i. The Hourly Rates Billed Are Appropriate

The Amazon Defendants enlisted the law firm Davis Wright Tremaine LLP (“DWT”) to represent
them in this matter. The attorneys who worked on the case, along with their hourly rates as billed by DWT,
are as follows: Nicolas Jampol, a media & entertainment partner in the firm’s Los Angeles office, had his
time billed at a “discounted rate” of $650 per hour; Amanda Levine, a media & entertainment associate
in the firm’s New York City office, had her time billed at a “discounted rate” or $550 per hour; and Samuel
Turner, a media & entertainment associate in the firm’s Los Angeles office, had his time billed at a
“discounted rate” of $550 per hour. Defs. Mot. for Att’ys’ Fees 12-13. “The Court has reviewed the
attorneys' rates and experience and, based on its own experience and familiarity with [the] local market,
finds these rates reasonable.” Cing Music Grp., LLC v. Create Music Grp., Inc., No. 2:22-cv-07505-JLS-
MAR, 2023 U.S. Dist. LEXIS 76599, *11 (C.D. Cal. Apr. 26, 2023).

The Tolkien Defendants enlisted the law firms Klaris Law PLLC (“Klaris”) and Maier Blackburn
LLP (“MB”) to represent them in this matter. The attorneys who worked on the case, along with their
hourly rates as billed by Klaris or MP, are as follows: Lance Koonce, a partner at Klaris, had his time
billed at $550 per hour; Gili Karev, an associate at Klaris, had her time billed at $450 per hour; and Samuel
Turner, a founding partner at MP, had his time billed at £480 per hour. Defs. Mot. for Att’ys’ Fees 13-14.
“The Court has reviewed the attorneys' rates and experience and, based on its own experience and
familiarity with [the] local market, finds these rates reasonable.” Cing Music Grp., LLC v. Create Music
Grp., Inc., No. 2:22-cv-07505-JLS-MAR, 2023 U.S. Dist. LEXIS 76599, *11 (C.D. Cal. Apr. 26, 2023).

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ii. The Number of Hours Billed Is Too High

The Court notes that Defendants have declined to seek fees for the entire range of time that they
spent working on the present case. In particular, Defendants do not seek fees “for the time incurred by
attorneys and paralegals who have assisted with the matter, nor for the significant time spent on this matter
by in-house counsel at Amazon.” Defs. Mot. for Att’ys’ Fees 15, ECF No. 52.

a. DWT Billed Too Many Hours Regarding Plaintiff’s First
Amended Complaint

Counsel for the Amazon Defendants billed 52.1 hours to respond to the Plaintiff's initial complaint
and 67.4 hours to respond to the FAC. Defendants have not alleged that there were significant differences
between the initial complaint and the FAC; to the contrary, Defendants claim that the FAC “suffered from
many of the same defects as the initial complaint.” Levine Decl. § 8, ECF No. 52-1.

Defendants partially explain the need to do extra work on the FAC. First, they note that revisions
and research were required to evaluate differences between Plaintiff's registered work and the work that
Plaintiff claimed to be suing upon. Reviewing these different iterations of the same book for differences
undoubtedly took many hours. Moreover, Defense counsel drafted a reply brief for the FAC but had not
done so for the initial complaint; the need to draft this reply for the first time (which took 15.7 hours) also
partially explains the number of hours worked on the FAC.

Even so, the Court still finds the amount of time spent to be disproportionate to the nature of the
changes between versions of the complaint. The Court therefore strikes the following hours from the
invoice of the Amazon Defendants’ counsel, for a reduction of $7,540 and resulting in a total award of
$66,610.

Date Timekeeper | Hours Rate Amount Task Type | Narrative
7/20/2023 | Jampol, 5:3 $650.00 $3,445.00 FAC MTD | Review
Nicolas research and
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revise
argument
regarding
unprotectability
of infringing
works for
motion to
dismiss
amended
complaint

7/21/2023 Jampol,
Nicolas

6.3

$650.00

$4,095.00

FAC MTD

Review
research and
revise
argument
regarding lack
of substantial
similarity as a
matter of law
and failure to
adequately
plead
contributory or
vicarious
infringement
for motion to
dismiss
amended
complaint

b. Karis Billed Too Many Hours Regarding Plaintiffs First

Amended Complaint

The Court first notes that Klaris has already adjusted its invoice to account for partial and complete

redactions to the invoices provided. Koonce Decl. n. 1, ECF No. 52-6.

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Per the Court’s own tabulation, Klaris billed 49 hours to respond to the Plaintiffs initial complaint
and 91.95 hours to respond to the FAC (of which 26.7 hours were spent working on the reply brief).* As
explained above, the necessity of reviewing multiple drafts of Plaintiff's work and drafting a reply for the
first time certainly necessitated additional work between the two complaints.

Even so, the Court still finds the amount of time spent to be disproportionate to the nature of the
changes between versions of the complaint. The Court therefore strikes the following hours from Klaris’s
invoice, for a reduction of $10,837.50 resulting in a total award of $57,362.00.

Date Narrative Timekeeper Hours Amount

7/24/2023 Continued review | L.K. 215 $1,512.50
of and revisions to
all motion papers,
including memo of
law, declaration,
notice of lodging,

exhibits

7/25/2023 Prepare filing G.K. 3.75 $1,687.50
papers for motion
to dismiss

7/25/2023 Continued review | L.K. 2.00 $1,100.00

of and revisions to
all motion papers,
including memo of
law, declaration,
notice of lodging,
exhibits

7/26/2023 Review and G.K. 6.75 $3,037.50
finalize filings for
motion to dismiss

3 These tabulations may be slightly off due to Klaris’s failure to explicitly break down how it had reduced its partially redacted
hours.

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(con’t);
correspondence
and coordination
with local counsel
re: same; initial
draft of Request
for Judicial Notice;
revise re: same

7/26/2023 Continued review | L.K. 3.50 $1,925.00
of and revisions to
all motion papers,
including memo of
law, declaration,
notice of lodging,
exhibits; review of
Amazon’s brief

7/27/2023 Finalize filing G.K. 3.50 $1,575.00
papers for MTD;
complete filing re:
same

c. MB Billed a Reasonable Number of Hours

MB largely billed for consultations that Maier performed with counsel for the Tolkien Defendants,
as well as some consultations with counsel for the Amazon Defendants. Per the Court’s tabulations, he
spent 10.2 hours working on the response to Plaintiff's initial complaint and 6.1 hours responding to
Plaintiff's FAC. As counsel for the Tolkien Defendants, these amounts are in addition to the hours billed
by Klaris (49 hours to respond to the Plaintiff's initial complaint and 91.95 hours to respond to the FAC).

While counsel for the Tolkien Defendants collectively billed a high number of hours to respond to
Plaintiff's FAC which did not significantly alter the legal issues in this case, the Court finds that Maier’s
billed hours were reasonable and did not contain extraneous work. Accordingly, MB is awarded the
requested $10,665.00.

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IV. Conclusion

For the foregoing reasons, the court GRANTS IN PART Defendants’ motion for attorney’s fees.
The award is broken down as follows: $66,610.00 to Amazon Defendants for the work of DWT and
$68,027.00 to Tolkien Defendants, of which $57,362.00 is for Klaris’s services and $10,665.00 is for
MB’s services.

IT IS SO ORDERED.

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